            Case 3:21-cr-00053-DB Document 14 Filed 01/13/21 Page 1 of 1
                                                                         JUDGE DAVID VADERRAMA


                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                                      ru
                                  EL PASO DIVISION
                                                                                    2U2IJANj3           PH 1:10
 UNITED STATES OF AMERICA,                         §
                                                   §   CRIMINAL NO. EP-21-CR             EI     &STRtCT
          Plaintiff,                               §
                                                   §   INDICTMENT
 v.                                                §
                                                   §   CT 1: 18 U.S.C. § 875(c)   Threatening
 MICHAEL REYES,                                    §   Communications
                                                   §
          Defendant.                               §
                                                   §




         THE GRAND JURY CHARGES:
                                                          EP21 CR0053
                                            COUNT ONE
                                         (18 U.S.C. § 875(c))

         That beginning on or about December 12, 2020, and continuing until on or about December

14, 2020, within the Western District    of Texas and elsewhere, the Defendant,

                                         MICHAEL REYES

knowingly and willfully did transmit a communication in interstate and foreign commerce, which

communication contained a threat to injure any person, in violation of Title 18 U.S.C.   §    875(c).




                                                A TRUE BILL.
                                                       ORiGiNAL SIGNATURE
                                                    REDACTED PURSUANT TO
                                                   EGOVERNMENT ACT OF 2QO
                                                FOREPERSON OF THE GRAND JURY
GREGG N. SOFER
UNITED     SATTOY
      Assistant Unite   tates Attorney
